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7
                               UNITED STATES DISTRICT COURT
8
                             CENTRAL DISTRICT OF CALIFORNIA
9
10   ALBERTO VIRAMONTES,                              )   Case No.: CV 20-11117 RAO
                                                      )
11          Plaintiff,                                )   [PROPOSED] ORDER
12                                                    )   AWARDING EAJA FEES AND
            vs.
13                                                    )   COSTS
     KILOLO KIJAKAZI,1 Acting                         )
14   Commissioner of Social Security,                 )
15                                                    )
            Defendants.                               )
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17
            Based upon the parties’ Stipulation for Award of EAJA Fees (“Stipulation”),
18
     IT IS ORDERED that attorney’s fees under the Equal Access to Justice Act
19
     (“EAJA”) are awarded in the amount of SIX THOUSAND NINE HUNDRED
20
     DOLLARS ($6,900.00) for all legal services rendered by Plaintiff’s attorney in this
21
     civil action under 28 U.S.C. §2412(d) and costs in the amount of FOUR
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     ////
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     ////
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25
26   1 Kilolo Kijakazi is now the Acting Commissioner of Social Security. Pursuant to Rule 25(d) of
27   the, Federal Rules of Civil Procedure, Kilolo Kijakazi should be substituted for Andrew M. Saul
     as the Defendant in this suit. No further action needs to be taken to continue this suit by reason of
28   the last sentence of Section 205(g) of the Social Security Act. 42 U.S.C. § 405(g).
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1    HUNDRED DOLLARS ($400.00) under 28 U.S.C. §1920, and subject to the terms
2    and conditions of the Stipulation.
3    DATED: October 27, 2021
4                                            ______________________________
                                             ROZELLA A. OLIVER
5
                                             U.S. MAGISTRATE JUDGE
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